885 F.2d 865Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerry E. JONES, Plaintiff-Appellant,v.James E. JOHNSON, Warden of the Buckingham CorrectionalCenter, Defendant-Appellee.
    No. 89-6660.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 10, 1989.Decided Sept. 6, 1989.
    
      Jerry E. Jones, appellant pro se.
      Before WIDENER, PHILLIPS, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Jerry E. Jones appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Jones v. Johnson, C/A No. 89-267-N (E.D.Va. May 15, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the material before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    